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13                      UNITED STATES DISTRICT COURT
14
                       CENTRAL DISTRICT OF CALIFORNIA
15
16
     GUADALUPE POLICE OFFICERS'                 Case No. CV 10-8061 GAF (FFMx)
17   ASSOCIATION; CARLOS LIMON,
18                                              Honorable Gary A. Feess
                         Plaintiffs,
19                                              PLAINTIFFS' MEMORANDUM
20          v.                                  OF POINTS AND AUTHORITIES
21                                              IN SUPPORT OF MOTION FOR
                                                SUMMARY JUDGMENT
22   CITY OF GUADALUPE, a municipal
23   corporation; GUADALUPE POLICE              Date:       June 11, 2012
     DEPARTMENT, an agency; GEORGE              Time:       9:30 AM
24   MITCHELL, individually and in his          Courtroom: 740
25   official capacity; and DOES 1 through 10
     inclusive,
26
27   Defendants.
28

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        I. INTRODUCTION
           This action was brought by Plaintiffs to remedy the unlawful attempt by
     their government employer to prevent a select group of employees from exercising
 4   their constitutionally protected First Amendment free speech rights, rights to Equal
 5   Protection, and rights to Due Process.
 6          Defendants unilaterally, and abruptly, imposed upon Plaintiffs Department
 7   Policy 1058, which contains numerous impermissible restraints on Plaintiffs'
 8   speech. In addition to expressly restraining clearly protected speech, the Policy's
 9   provisions are impossibly broad and vague, with the result of chilling various
10   instances of Plaintiffs' speech activities; activities which they routinely engaged in
11   prior to Policy 1058's implementation.
12          The net effect of Policy 1058's unconstitutional provisions is to prevent
13   Plaintiffs, or anybody in Plaintiffs' position, from exposing corruption,
14   mismanagement, or incompetency within the highest levels of their own City
15   government. Moreover, the Policy expressly forbids Plaintiffs from engaging in the
16   local electoral process while identifying themselves as police officers. The Policy
17   also denies Plaintiffs their rights to equal protection, and their rights to due
18   process.
19          These restraints on speech and activities are protected under the First
20   Amendment. The undisputed facts, and clearly settled law, demonstrate that
21   Plaintiffs' constitutional rights have been infringed. As such, Plaintiffs request this
22   Court to grant summary judgment.
23      II. NARRATIVE STATEMENT
24          Defendant City of Guadalupe ("City") enacted the Guadalupe Police
25   Department Manual on October 1, 2010. (Plaintiffs' Statement of Uncontroverted
26   Facts and Conclusions of Law (SUF),1 3, 4.) The Policy includes section 1058,
27   entitled "Employee Speech, Expression and Social Networking." (See Exhibit A,
28   attached hereto.) When it was implemented, Defendants indicated the Policy was

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       1   in fact a new term and condition of employment, as Plaintiffs would be
       2   "responsible for understanding and complying with the provisions of the new
       3   manual." (Plaintiffs' SUF,1 5,6.) As such, Plaintiffs reasonably understand that
       4   failure to comply with any of the Policy's provisions is grounds for discipline, up
       5   to and including termination. (Plaintiffs' SUF,1 6.)
       6          Some six months prior to the Policy Manual's implementation, Defendants
       7   submitted a draft to police department employees for review and comment.
       8   (Plaintiffs' SUF,1 7, 8.) This draft did not include section 1058, including the
       9   provisions at issue in this case. (Plaintiffs' SUF, 17, 8.) On September 30, 2010,
      10   one day prior to the Policy Manual's implementation, Defendants presented the
      11   police department employees, including Plaintiffs here, the final version.
   6 12    (Plaintiffs' SUF,1 7, 8.) This version did include Policy 1058. (Plaintiffs' SUF,1
   2 13    7, 8.) Thus, Plaintiff police officers had a single night to review the final version,
1,0_, 14   which for the very first time included the provisions at issue in this case.
Ft R. 15                               Prohibited Speech Activities
A
- E 16           Policy 1058 contains various prohibitions on Plaintiffs' speech activities.
• 17             Section 1058.3, "SAFETY," provides:
      18                      "Employees should carefully consider the
      19               implications of their speech or any other form of
                       expression when using the Internet. Speech and
      20               expression that may negatively affect the safety of the
      21               Guadalupe Department employees, such as posting
                       personal information in a public forum, can result in
      22               compromising an employee's home address of family
      23               ties. Employees should therefore not disseminate or post
      24               any information on any forum or medium that could
                       reasonably be expected to compromise that safety or
      25               privacy of any employees, employee's family or
      26               associates." (See Exhibit A, attached hereto.)
     27        Section 1058.4, "PROHIBITED SPEECH, EXPRESSION AND
     28    CONDUCT," provides in relevant part: 2

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          1                         "In order to meet the Department's safety
                        performance and public-trust needs, the following are
                        prohibited:

          4                   (b) Speech or expression that, while not made
                        pursuant to an official duty, is significantly linked to, or
          5
                        related to, the Guadalupe Police Department and tends to
          O             compromise or damage the mission, function, reputation
          7             or professionalism of the Guadalupe Police Department
                        or its employees.
          8                   •••


          9                    (f) Disclosure, through whatever means, of any
                        information, photograph, video or other recording
      I()               obtained or accessible as a result of employment with the
          1             Department for financial gain, or any disclosure of such
                        materials without the expressed authorization of the
      12
?.)                     Chief of Police of his/her designee. (Penal Code § 146g)
       13                      (g) Posting, transmitting or disseminating any
    (S 14               photographs, video or audio recordings, likeness or
                        images or department logos, emblems. uniforms, badges,
    R. 15               patches, marked vehicles, equipment or other material
                        that specifically indentifies the Guadalupe Police
    < 16                Department on any personal or social networking or
•-1    17               other website or web page, without the express written
      18                permission of the Chief." (See Exhibit A, attached
      19
                        hereto.)
      20     Section 1058.4.1, "UNAUTHORIZED ENDORSEMENTS AND
      21 ADVERTISEMENTS," provides in relevant part:
      22                  "Unless specifically authorized by the Chief,
      23           employees may not represent the Guadalupe Police
                   Department or identify themselves in any way as being
      24           affiliated with the Guadalupe Police Department       in
      25           order to do any of the following (Government Code
       )6
                   §3206 and 3302): (a) Endorse, support, oppose or
                   contradict any political campaign or initiative;(b)
      -




      27           Endorse, support, oppose or contradict any social issue,
      28           cause or religion." (See Exhibit A, attached hereto.)
                                                     3

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                    Restrained Speech Activities As A Result of Policy1058

            Plaintiffs Limon and GPOA have refrained from participating in four
 4    specific First Amendment speech activities as a direct consequence of their fear of
 5    disciplinary action pursuant to Policy 1058. (Plaintiffs' SUFI 9-17.) These four
 O    are: (1) refraining from making public statements about the renewal of the Chief of
 7    Police's contract, (2) refraining from endorsing and/or opposing individuals for
 8    election to the Guadalupe City Council, (3) refraining from making public
 9    statements contesting the City administration's public statements indicating the
10    Chief of Police made significant improvements within the Department that have
11    positively affected public safety, and (4) refraining from making public statements
12    regarding a "quid pro quo" arrangement between the Chief of Police and certain
13    City administration officials involving the personal use of City property.
14    (Plaintiffs' SUF, 91 9-17.)
15       III. STANDARD OF REVIEW
16          Summary judgment is proper where no genuine issue of material fact exists
17    and the moving party is entitled to judgment as a matter of law. Fed. R. Civ. P.
18    56(a). The substantive law determines which facts are material. Anderson v.
19   Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). There is no genuine issue if the
20    evidence establishes that a reasonable jury cannot return a verdict for the non-
21    moving party. Id. at 248. The party opposing summary judgment may not rest upon
22    mere allegations or denials, but must set forth specific facts showing that there is a
23    genuine issue for trial. Id. If the evidence put forth by the nonmoving party is
24    merely colorable, or is not significantly probative, summary judgment may be
25    granted. Id. at 249-250.
26       IV.    ARGUMENT
27          42 U.S.C. § 1983 provides a civil remedy for deprivations of federally
28    protected rights caused by persons acting4inder state law. Parratt v. Taylor,

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     451 U.S. 527, 535 (1981), overruled on other grounds. The undisputed facts and
 2 settled law demonstrate that Defendants, acting under color of state law, caused
 3 Plaintiffs to suffer deprivations of their First Amendment, Equal Protection, and
 4 Due Process rights.
 5          There can be no dispute that all the Defendants in this case acted "under
 6 color of state law." The individual Defendants in this case acted "under color of
 7 state law" because they implemented Policy 1058 in their official capacity. Vang v.
 8 Toyed 944 F.2d 476, 479 (9th Cir. 1991.) Defendant City is liable under section
 9 1983 because the underlying "action" at issue, Policy 1058, is an "official policy"
I()) of the City. Monell v. Department of Soc. Servs., 436 U.S. 658, 694 (1978).'
11          Policy 1058 has caused Plaintiffs to suffer deprivations of their
12 constitutional rights. Policy 1058 unconstitutionally infringes upon Plaintiffs' First
13 Amendment right to freedom of expression through prior restraint, overbreadth,
14 vagueness, and as-applied to four specific instances of Plaintiffs' planned, yet
15 refrained-from, speech activities. These infringements upon Plaintiffs' First
16 Amendment activity have not been, and cannot be, sufficiently justified by
17 Defendants.
18          Policy 1058 also denies Plaintiffs the equal protection of the laws, as
19 guaranteed by the Fourteenth Amendment, by targeting Plaintiffs' First
20 Amendment rights based on their inclusion in their employment group, without
21 sufficient justification. Finally, Policy 1058 denies Plaintiffs their rights to Due
22 Process by being unconstitutionally vague, such that the enforcement of the
23 Policy's provisions are arbitrary and discriminatory.
24
25
     1 Moreover, government entities are "persons" under section 1983. Monell, 436
26 U.S. at 690; and an "official policy" is a formally adopted rule, statute, or guideline
27 enacted by the public entity. See, Pembaur v. City of Cincinnati, 475 U.S. 469
     (1986).
28
                                               5

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 1          A. DEPARTMENT POLICY 1058 UNCONSTITUTIONALLY
               INFRINGES UPON PLAINTIFFS' FIRST AMENDMENT RIGHTS
            As public employees, Plaintiffs Limon and the GPOA are entitled to the free
 4    speech protections of the First Amendment when they "speak as citizens" on
 5    "matters of public concern." 2 Garcetti v. Ceballos, 547 U.S. 410, 417 (2006).
 6    When speech of this type is established, the government employer, Defendants
 7    here, may only restrict these speech rights if they meet their burden of providing
 8    sufficient justification under the balancing test as outlined in Pickering v. Bd. of
 9   Educ., 391 U.S. 563 (1968). The undisputed facts, and well-established case law,
10    demonstrate that Defendants have not, and cannot, meet this burden.
11          Defendants' have imposed an unjustified "prior restraint" on Plaintiffs' free
12    speech rights through Policies 1058.4(f) and (g) and 1058.4.1(a) and (b). They've
13    also imposed impermissibly "overbroad" and "vague" policies upon Plaintiffs,
14    which include Policies 1058.3, 1058.4(b) and (f), and 1058.4.1(a) and (b).
15    Additionally, the specific application of Policies 1058.3, 1058.4(b) and (f), and
16    1058.4.1(a) and (b) to four particular instances of Plaintiffs' planned and protected
17    speech activities is unconstitutional and impermissible.
18          Because the evidence demonstrates that Defendants cannot justify any of
19    these restrictions, Plaintiffs' First Amendment rights have been impermissibly
20    restrained by these provisions of Policy 1058, and are entitled to summary
21   judgment.
22
23
24
25
26
     2
27    As this Court noted in its Order, "an organization itself enjoys speech rights,"
     citing Citizens United v. Fed. Election Comm'n, 130 S. Ct. 876, 899 (2010), and
28   "an organization can speak only through p members." (Order, p. 7).

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            1.     Policy 1058 Has Restrained Plaintiffs From Engaging In Speech
 1                 On Matters of Public Concern While Speaking As Private
                   Citizens.
 3
 4           Whether particular speech activities are deemed "matters of public concern"
 5    is purely an issue of law for the Court to decide. Connick v. Myers, 461 U.S. 138,
 6    147 (1983). As a matter of law, Ninth Circuit precedent demonstrates that each of
 7    the four above-referenced refrained-from speech activities are on matters of public
 8    concern. Furthermore, the undisputed facts and law show that these speech
 9    activities were to be engaged in by Plaintiffs in their capacity as private citizens,
10    and not pursuant to their official capacity as police officers.
11           "If an employee's expression relates to an issue of 'political, social, or other
12    concern to the community,' as distinct from a mere personal grievance, it fairly is
13    characterized as addressing a matter of public concern." Gilbrook v. City of
14    Westminster, 177 F.3d 839, 866 (9th Cir. 1999). More specifically, "as a matter of

15    law, the competency of the police force is a matter of public concern." Robinson v.
16    York, 566 F.3d 817, 822 (9th Cir. 2009). 3 Additionally, the "misuse of public

17    funds, wastefulness, and inefficiency in managing and operating government
18    entities are matters of inherent public concern." Johnson v. Multnomah Co., 48
19    F.3d 420, 425 (9th Cir. 1995). So too are allegations of misconduct amounting to
20    "actual or potential wrongdoing or breach of public trust." Connick, 461 U.S. at
21    138 (1983). These issues are considered matters of public concern because the
22    exposure of abuses, inefficiency, and incompetence of public law enforcement
23    officials "are of vital interest to citizens in evaluating the performance of their
24    government." Hyland v. Wonder, 972 F.2d 1129, 1137 (9th Cir. 1992).
25           The speech activities restrained by Policy 1058 fit squarely within this
26    established precedent and understanding of what constitutes matters of public
27    3
    Also see, McKinley v. City of Eloy, 705 F.2d 1110, 1114 (9th Cir. 1983): "the
28 competency of the police force is a matter of public concern."

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 1   concern. Plaintiffs have refrained from, and plan on engaging in, public speech
 2   concerning (1) the Chief's value, management, and competency as head of the
 3   Department, (2) public misstatements of fact by City administration concerning
 4   specific instances of the Chief's effectiveness as the leader of the Department, (3)
 5   an apparent quid-pro-quo arrangement between the Chief and city officials
 6   regarding potential misuse, wastefulness, and potential wrongdoing in connection
 7   with public funds and resources, and (4) participation in the election of city council
 8   members (Plaintiffs' SUF,1 9-17.) Such activities are undoubtedly of public
 9   concern, as they all "seek to inform the public about the operation of a government
10   agency," or involve the core First Amendment right of engaging in the electoral
11   process, and in no way involve "personal grievances" dealing with "internal office
12   policy." McKinley, 705 F.2d at 1114 (9th Cir. 1983).
13          This Court found as such in its Order: "Plaintiffs have adequately alleged
14   that their intended speech about renewal of the Chief of Police's contract would be
15   on a matter of public concern" (See, Exhibit F attached hereto, Order denying
16   Defendants' Motion to Dismiss Second Amended Complaint, p. 18); "Speech
17   endorsing and opposing candidates for public office also plainly involves a matter
18   of public concern" (Exhibit F, p. 18); "the Chief's responsibility for making
19   improvements that enhance the police department's ability to respond effectively
20   to emergencies likewise amounts to a matter of public concern" (Exhibit F, p. 19);
21   and the "suggestion that publicly disclosing corruption among public officials does
22   not amount to a 'matter of public concern' is wholly without merit." (Exhibit F, p.
23   19).
24          Defendants cannot put forth evidence capable of disputing Plaintiffs'
25   demonstrated past intent and refrain from participating in these activities.
26   (Plaintiffs' SUF,1 9- 17.)
27          Moreover, Plaintiffs all intended, and do intend, to speak in their capacity as
28   informed citizens, not pursuant to their official duties as employees of the
                                               8

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 1    government. (Plaintiffs' SUF.,1 18.) As this Court noted in its Order, "nothing
 2    suggests that a police officer like Limon has an official duty to speak out on any of
 3    the subjects he intends to speak out about," and further, "the GPOA is not an
 4    employee and thus cannot speak pursuant to official duties." (Exhibit F, p. 19.)
 5    Defendants have put forth no evidence demonstrating that either Plaintiff has an
 6    official duty to speak publicly on the Chief's contract renewal, the quid-pr-quo
 7    arrangement, factual inaccuracies disseminated by City administration, or to
 8    engage in local elective politics. (Exhibit F, p. 19.) Additionally, "there is no
 9    reason to think Limon's job with the Department requires him to serve as President
10    of the GPOA." (Exhibit F, p. 19.)
11          Indeed, if these refrained-from speech activities were not considered matters
12    of public concern spoken in a capacity as a citizen, "some of the most important
13    public employee speech — exposing governmental corruption, wrongdoing, or
14    incompetence — would be left outside the First Amendment's aegis." Hyland, 972
15    F.2d at 1138. Thus, quite reasonably, the Ninth Circuit has uniformly rejected this
16    result for the exact kinds of speech activities Plaintiffs have refrained from for fear
17    of discipline under Policy 1058.
18          2.     Defendants Have Not, and Cannot, Demonstrate That the
19                 Restrictions Imposed on Plaintiffs' Speech Is Constitutionally
                   Justified.
20
21          As Plaintiffs' employer, Defendants have the burden to demonstrate that any
22    infringement imposed by Policy 1058 upon Plaintiffs' First Amendment rights are
23   justified. Clairmont v. Sound Mental Health, 632 F.3d 1091, 1106 (9th Cir. 2011).
24    To demonstrate this required justification, Defendants must show that their interest
25    in promoting the efficiency of the public services they perform outweigh the
26    restrictions placed upon Plaintiffs' First Amendment right to speak upon matters of
27    public concern as private citizens. Pickering v. Bd. of Educ., 391 U.S. 563, 568
28    (1968).
                                                 9

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 1          Pickering balancing considers five factors: (1) whether the employee's
 2    speech disrupted harmony among co-workers (2) whether the relationship between
 3    the employee and the employer was a close working relationship with frequent
 4    contact which required trust and respect in order to be successful (3) whether the
 5    employee's speech interfered with performance of his duties (4) whether the
 6    employee's speech was directed to the public or the media or to a governmental
 7    colleague, and (5) whether the employee's statements were ultimately determined
 8    to be false. Bauer v. Sampson, 261 F.3d 775, 785 (9th Cir. 2001).
 9          The evidence demonstrates that these factors clearly weigh in Plaintiffs'
10    favor. Because Plaintiffs' speech here deals "directly with issues of public
11    concern," Defendants are required to make a "stronger showing of disruption,"
12    beyond that normally required where the speech is only tangentially related, such
13    that "real, not imagined, disruption is required." McKinley, 705 F.2d at 1115 (9th
14    Cir. 1983). Also, this "real" showing of disruption must be beyond "mere
15    disruption"; a showing of "actual injury to its legitimate interests," is required.
16    Johnson, 48 F.3d at 427 (9th Cir. 1995), original emphasis. 4
17          Defendants cannot satisfy this required "stronger showing of disruption."
18    The undisputed facts, and clearly settled law, demonstrate that Defendants' offered
19 justifications for these infringements are wholly inadequate, to the extent that they
20    have offered any meaningful justifications at all.
21           Defendants have offered no evidence of any "actual injury" sought to be
22    prevented by the enactment of Policy 1058, or more specifically the provisions at
23    issue in this case. To Plaintiffs' request for such evidence, Defendants have
24
      4 "There is a series of cases in the Ninth Circuit establishing that the public's
25
      interest in learning about illegal conduct by public officials and other matters at the
26    core of First Amendment protection outweighs a state employer's interest in
27    avoiding a mere potential disturbance to the workplace." Keyser v. Sacramento
      City Unified School Dist., 265 F.3d 741, 748 (9th Cir. 2001).
28
                                                 10

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 1    simply, and mechanically, asserted that the implementation of these provisions was
 2    needed to "up-date" the Department's Policy Manual to "develop best practices for
 3    the most efficient performance and operation" of the Department. (See Exhibit B
 4    attached hereto, Defendant City of Guadalupe's Response to Plaintiffs' Written
 5    Interrogatories, Set One, p. 5, 6, 7, 9, 11) This does not rise to the level of the
 6    required "stronger showing" of "actual injury."
 7           Nor can Defendants make this showing, as they have not asserted that these
 8    policies were in response to any prior "actual injury" to a "legitimate interest."
 9    (Exhibit B, p. 5, 6, 7, 9, 11.) 5 Furthermore, even if this asserted reasoning were to
10    be deemed sufficient, Defendants cannot, by law, claim they have a "legitimate
11    interest in covering up mismanagement or corruption," to which much of
12    Plaintiffs' refrained-from speech activities directly concerns. Johnson, 48 F.3d at
13    427 (9th Cir. 1995). The first Pickering factor, "disruption" of "harmony among
14    co-workers," weighs in Plaintiffs' favor.
15           The undisputed facts show that Limon and the members of the GPOA hold
16    the positions of police officer, and that they do not "occupy a high-level, policy-
17    making position, for which personal loyalty and confidentiality are indispensible."
18    (Plaintiffs' SUF,1 1, 2.) Gilbrook v. City of Westminster, 177 F.3d 839, 868 (9th
19    Cir. 1999).
20           Defendants have thus far offered no evidence suggesting that any of the
21    planned speech activities would have interfered with Limon's, or the other GPOA
22    members', duties as police officers for the City. 6
23
      5
24     Indeed, Defendants' responses imply that they did not even consider these issues
25    prior to implementation, when they respond that the policies were "drafted and
      provided by Lexipol to defendant." (Exhibit C, p.7.)
26
      6
27     Defendants have only asserted, without support, that when Limon acts as
      President of the GPOA, he "is acting pursuant to his official duties and not as a
28    private citizen." (Defendants MTD Plainliffs' SAC, p. 14.)

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       1          All of Plaintiffs' refrained-from speech activities were to be directed
      2     "specifically and purposefully" at the public.' Mckinley, 705 F.2d at 1115 (9th Cir.
      3     1983.) Defendants have offered no evidence suggesting otherwise.
      4           Finally, Plaintiffs have good-faith and well-informed beliefs about the
      S     perceived misuse of public resources and potential corruption occurring within the
      6     City and Department. This stems from their position within the Department, as
      7     "members of the community who are most likely to be informed and have definite
      8     opinions," on such matters as mismanagement, corruption, or overall level of
      9     police services provided. Gilbrook, 177 F.3d at 867.
     1O           Plaintiffs never "checked" their First Amendment "rights at the door" when
     11     they accepted employment as police officers with the City of Guadalupe. Bardzik
    6 12    v. County of Orange, 635 F.3d 1138, 1144 (9th Cir. 2011). Rather, they retain these
,*3   13    rights as private citizens subject only to the extent properly and sufficiently
 "'q; 14   justified by their employer, Defendants here. Yet, the undisputed evidence shows
Q°
 ir4 15     that Defendants have not justified, and cannot justify, the contested policies under
     16     Pickering. They have not put forth sufficiently "colorable" or "probative
     17     evidence", or any evidence, demonstrating that the efficiency of the Department
     18     may be harmed by, or more precisely outweighs, the restrictions they've placed
     19     upon Plaintiffs' First Amendment rights. Anderson, 477 U.S. at 249-250.
     20           As such, Defendants cannot demonstrate that they will prevail under the
     21     Pickering analysis.
     22
     23
     24


     26
     27     7
             Public statements, press releases, press interviews, letters to news media, public
     28     endorsement or opposition of political capilidates, etc. (Limon Decl.,1 5- 12.)

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 1          3.     Policy 1058 Is Unconstitutional "As Applied" to Particular
 2                 Conduct Plaintiffs Have Refrained From Engaging In Due To
                   Fear of Discipline.
 3
 4          As noted earlier, there are four particular instances of First Amendment
 5    activity refrained from by Plaintiffs due to fear of discipline under Policy 1058.
 6    The Pickering analysis applies to these as-applied challenges. (Exhibit F, p. 18.)
 7    This analysis, as discussed above, requires Plaintiffs to show that (1) the intended
 8    speech was on "matters of public concern" and they intended to speak as private
 9    citizens, and (2) Defendants cannot justify the restrictions under the Pickering
10    analysis.
11          Because the analysis for these "as applied" challenges is the same as
12    discussed in sections Al and A2 above, which demonstrated that speaking publicly
13    on the Chief's effective leadership of the Department, exposing quid-pro-quo
14    arrangements involving public resources, contesting factually inaccurate public
15    statements by City administration, and participating in local electoral politics, are
16    all speech activities that cannot be restrained under Pickering, Plaintiffs will not
17    devote another separate discussion to the topic here.
18          4.     Sections 1058.4(f) and (g) and 1058.4.1(a) and (b) are
                   Unconstitutional Prior Restraints on Plaintiffs' First Amendment
19                 Rights.
20
            The term "prior restraint is used to describe administrative and judicial
21
      orders forbidding certain communications when issued in advance of the time that
22
      such communications are to occur." Alexander v. U.S., 509 U.S. 544, 550 (1993).
23
      More simply, and as noted by this Court in its Order Denying Defendants' Motion
24
      to Dismiss, a policy will qualify as a prior restraint if it requires speakers to obtain
25
      advance permission to speak. Joseph Burstyn, Inc. v. Wilson, 343 U.S. 495, 503
26
      (1952).
27
28
                                                  13

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 1          Department Policies 1058.4(f) and (g) and 1058.4.1(a) and (b), by their
      express terms, require Plaintiffs to obtain advance permission prior to speaking.
      Policies 1058.4(0 and (g) provide, in relevant part:
 4                       "...the following is prohibited...(f) Use or
 5
                  disclosure, through whatever means, of any
                  information...obtained or accessible as a result of
 6                employment with the Department ... without the
 7                 expressed authorization of the Chief of Police or his/her
                   designee. (g) Posting, transmitting or disseminating any
 8                 photographs, video or audio recordings, likenesses or
 9                 images of department logos, emblems, uniforms, badges,
                   patches, marked vehicles equipment or other material
10
                   that specifically identifies the Guadalupe Police
1I                 Department on any personal or social networking or
12                 other website or web page, without the express written
                   permission of the Chief of Police." (Department Policy §
13                 1058.4(f) and (g).)
14
15          Department Policies 1058.4.1(a) and (b) provide, in relevant part:
16                        "Unless specifically authorized by the Chief of
                   Police, employees may not represent the Guadalupe
17
                   Police Department or identify themselves in any way as
18                 being affiliated with the Guadalupe Police Department in
19                 order to do any of the following: (a) Endorse, support,
                   oppose, or contradict any political campaign or initiative
20                 (b) Endorse, support, oppose or contradict any social
21                 issue, cause or religion." (Department Policy §
                   1058.4.1(a) and (b).)
22
23            That these policies operate as "prior restraints" on Plaintiffs' First
24    Amendment activity cannot be in dispute; they all, by express terms, require
25    advance permission before conducting any of the enumerated activities. Moreover,
26    it is undisputed that the Policy itself does not limit its application, and Plaintiffs
27    have not received any limiting instruction from Defendants themselves, through
28    either verbal or written conversation or intimation.
                                                14

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               1          A reasonable reading of these restraints leads to unreasonable results: a
               2    police officer who attends a child's "career-day" to speak about the job of a police
               3    officer, while off-duty and not in uniform, is subject to discipline unless prior
               4    permission from the Chief is given (1058.4(f)); a police officer who posts a police
               5    academy graduation photo of himself with his family on "Facebook" is subject to
               6    discipline unless prior permission from the Chief is given (section 1058.4(g)); a
               7    police officer who attends and speaks at a child's local school board meeting,
               8    while off-duty, not in uniform, but "identifies" as a police officer, is subject to
               9    discipline unless prior permission from the Chief is given (sections 1058.4.1(a) and
              10    (b)); a police officer who attends and supports a church fundraising event, while
              11    off-duty, not in uniform, but "identifies" as a police officer, is subject to discipline
        6 12        unless prior permission from the Chief is given (section 1058.4.1(b)).
        2 13              More practically, and germane to this case, as a result of the above policies
w e 14              Plaintiffs have restrained themselves from engaging in various specific instances of
              15    protected speech. Plaintiffs have refrained from "disclosing" any "information" to
Lt.s-
        41.
              16    the public concerning the Chief of Police's effectiveness and leadership of the
              17    Department, and the resulting impact on public safety, with regards to his contract
              18    renewal. (Plaintiffs' SUF, 9E 9,10; Policy § 1058.4(0.) Such information could only
              19    be "obtained" as a "result of employment with the Department", as only employees
              20    could effectively see the Chief's impact on public safety. Plaintiffs have refrained
              21    from contesting statements from City officials suggesting the Chief's leadership
              22    has improved public safety, through his purchase of technology and equipment
              23    upgrades. (Plaintiffs' SUF,1 14, 15; Policy § 1058.4(f).) Knowledge of the falsity
              24    and/or misleading character of these pronouncements can only be "obtained" as a
              25    "result of employment with the Department." Plaintiffs have refrained from
              26    exposing a "quid pro quo" arrangement between the Chief and certain City
              27    administrators, whereby the Chief lent out City property in exchange for public
              28    support. (Plaintiffs' SUF,1 16, 17; Policy § 1058.4(0.) Knowledge of such a
                                                                15

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        1    situation, potential public corruption, could only be "obtained" as a "result of
        2    employment with the Department".
        3           To require Plaintiffs to get advance permission for speaking publicly on such
        4    matters is nonsensical, for the individual who stands to lose the most from any
        5    public "disclosure" of these issues is the individual whose consent is required
        6    pursuant to Policy 1058.4(f).
        7           Further, to engage in any of the public activities listed above while
        8    identifying as a member of the GPOA, necessarily "specifically identifies" the
        9    speaker as a member of the Department. (Policy § 1058.4(g).) Thus, Plaintiffs
       10    choosing to disclose any of the above through any "website or web page" runs
       11    afoul of Policy § 1058.4(g) unless the Chief consents beforehand. This provision
0 8 12       also prohibits GPOA members from identifying themselves as GPOA members on
v 2 13       any issue, if the chosen medium happens to be internet-based. 8
•• P x
     U 14           Plaintiffs have also refrained from participating in the local election process,
     g
▪ ru9 15     a process they have participated in numerous times in the past prior to Policy
 LLI
     g 16    1058's implementation. (Plaintiffs' Siff, 12, 13; Policy § 1058.4.1(a) and (b).)
▪ 17                Defendants cannot put on evidence disputing these facts. Because these
       18    provisions constitute prior restraints on Plaintiffs' First Amendment activity, their
       19    validity depends upon Defendants carrying their burden under Pickering. And, as
       20    demonstrated above in Section Al and A2, Defendants have not, and cannot, meet
       21    this burden.
       22          5.     Sections 1058.3, 1058.4(b) and (f), and 1058.4.1(a) and
       23                 (b) are Unconstitutionally Overbroad and Vague.

       24           Department policies 1058.3, 1058.4(b) and (f), and 1058.4.1(a) and (b) chill
       25    Plaintiffs' constitutionally-protected First Amendment rights because they are
       26
             8
       27      The possible categories of speech that are restrained by that provision alone are
             too numerous to list exhaustively. Plaintiffs are confident this Court can imagine
       28    the potentially limitless applications.   16

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         1     unconstitutionally overbroad and vague, by prohibiting a substantial amount of
         2     protected speech, and allowing for arbitrary and discriminatory selective
         3     enforcement.
         4                                         Overbreadth
         5            When considering whether an enactment is unconstitutionally overbroad,
         6     "the crucial question...is whether the ordinance sweeps within its prohibitions what
         7     may not be punished under the First and Fourteenth Amendments." Grayned v.
         8     City of Rockford, 408 U.S. 104, 114-115 (1972). If the enactment proscribes "a
         9     substantial amount" of protected expressive activity, it is invalid if not readily
        10     susceptible to a limiting construction. Powell's Books, Inc. v. Kroger, 622 F.3d
        11      1202, 1208 (9th Cir. 2010).
0    6 12             All the policies in question "sweep within" their provisions a substantial
     2 13      amount of expressive activity protected under the First Amendment. Policy 1058.3
C4
      ‘' 14    prohibits the dissemination of "any information" "that could reasonably be
A°   t2
         15    expected to compromise (the) safety" of employees, or their families or associates.
44 E 16        This language prohibits Plaintiffs from exposing to the public any allegation of
     17        corruption or wrong-doing, as it reasonably could adversely affect the safety of
     18        involved parties. As a result, Plaintiffs have refrained from exposing the quid-pro-
     19        quo arrangement between the Chief and City administrators. (Plaintiffs' SUF,1 16,
     20         17.)
     21               Policy 1058.4(b) prohibits speech that "while not made pursuant to an
        22     official duty, is significantly linked to, or related to" the Department and "tends to
        23     compromise or damage the mission, function, reputation or professionalism, of the
        24     Department." A reasonable reading of this section likewise prohibits Plaintiffs
        25     from exposing corruption within the Department, as that sort of information would
        26     surely "tend to" damage the reputation or professionalism of the Department.
        27            Policy 1058.4(f) prohibits "disclosure, through whatever means, of any
        28     information...obtained or accessible as a result of employment with the
                                                         17

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 1 Department...without the expressed authorization of the Chief...or his/her
   designee." Again, the information Plaintiffs have obtained, and refrained from
   exposing to the public, concerning a quid-pro-quo arrangement and misstatements
 4 of fact about the operations of the Department, is banned by this provision because
 5 the information only came "as a result of employment with the Department."
 6 (Plaintiffs' SUF,1 16, 17.) These specific instances are in addition to the
 7 reasonable interpretations of the section's application outlined in Section A 4
 8    above.
 9          Lastly, policies 1058.4.1(a) and (b) prohibit Plaintiffs from "identifying
10   themselves in any way as being affiliated with" the Department "in order to
11   endorse, support, oppose or contradict any political campaign or initiative or social
12   issue or cause..." Thus, Plaintiffs have refrained from endorsing City Council
13   candidates, or engaging in City Council elections in any way, as GPOA members
14   since GPOA membership necessarily implies an "identification" of affiliation with
15   the Department. (Plaintiffs' SUF, 112, 13.) These specific instances are again in
16   addition to the reasonable interpretations of the section's application outlined in
17   Section A 4 above.
18          No limiting instruction is contained in or provided for any of these
19   provisions, and Plaintiffs have not been instructed as to the reach, or application, of
20   any of them. Because of this and the extremely expansive language employed in
21   these sections, Plaintiffs have no clue what speech is prohibited and what is not.
22   Further, the prohibition on exposing corruption or endorsing political candidates is
23   clearly protected speech, as explained in sections Al and A2 above. 9 Restraining
24 this speech cannot be justified under Pickering.
25
26
27 9 Indeed, Policy 1058.4(b) expressly applies to speech that is not made pursuant to
28 an official duty, as pointed out by this Court in its Order.
                                               18

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 1                                        Vagueness
 2           A statute must be sufficiently clear so as to allow persons of ordinary
 3   intelligence a reasonable opportunity to know what is prohibited. Humanitarian
 4   Law Project v. U.S. Treasury Dep't, 578 F.3d 1133, 1146 (9th Cir. 2009).
 5   Moreover, an enactment may be found unconstitutionally vague if it fails to
 6   establish standards sufficient to guard against arbitrary deprivation of liberty
 7   interests. City of Chicago v. Morales, 527 U.S. 41, 52 (1999). An enactment will
 8   be deemed impermissibly vague where it "delegates basic policy matters...for
 9   resolution on an ad hoc and subjective basis, with the attendant dangers of arbitrary
10   and discriminatory application. Grayned v. City of Rockford, 408 U.S. 104, 108-
11   109 (1972). Further, "when First Amendment freedoms are at stake, courts apply
12   the vagueness analysis more strictly, requiring statutes to provide a greater degree
13   of specificity and clarity..." California Teachers Ass'n v. State Bd. of Educ.,27 1
14   F.3d 1141, 1150 (9th Cir. 2001).
15           Policies 1058.3, 1058.4(b) and (f), and 1058.1.1(a) and (b) are
16   unconstitutionally vague. As this Court noted in its Order, it is not obvious what
17   might "reasonably be expected to compromise...safety or privacy," as
18   contemplated by section 1058.3, and "officers 'of common intelligence' would
19   have to guess about what the provision covers." (Exhibit F, p. 21.) Considering the
20   heightened standard when applied to restrictions on First Amendment rights, such
21   broad language is not "sufficiently clear" to guard against arbitrary enforcement by
22   Defendants.
23           Similarly, this Court stated that "officers of common intelligence would
24   have to guess about what" Section 1058.4(b) covers. (Exhibit F, p. 22.)That section
25   prohibits "speech or expression that, while not made pursuant to an official duty, is
26   significantly linked to, or related to, the Guadalupe Police Department and tends to
27   compromise or damage the mission, function, reputation, or professionalism...," of
28   the Department. In addition to being impossibly vague, it also expressly prohibits
                                              19

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 1   constitutionally protected speech, as speech "made not pursuant to an official duty"
 2   references the exact test employed for that issue.
 3          Sections 1058.4(0 and 1058.4.1(a) and (b) require the express authorization
 4   of the Chief before certain matters are spoken upon. Yet, neither provide any
 5   standards for enforcement, nor have Plaintiffs been aware of any articulated
 6   standards given to them in any form. Accordingly, these provisions fit squarely
 7   within the expressed fear of "delegat(ing) basic policy matters...for resolution on
 8   an ad hoc and subjective basis, with the attendant dangers of arbitrary and
 9   discriminatory application." Grayned, 408 U.S. at 108-109 (1972).
10          Again, none of the policies discussed above contain any limiting instruction,
11   guidelines, or standards as to their enforcement. Thus the decision to enforce any
12   reasonable interpretation of the vague and sweeping prohibitions is left entirely to
13   Department and City administrators, who may arbitrarily and discriminatorily
14   punish those who speak out on, or expose, issues directly adverse to their interests,
15   such as corruption or incompetence.
16          Defendants have offered no evidence indicating Plaintiffs, or anyone else,
17   was educated on how these policies are to be enforced. The express language of
18   these provisions provides no guidance as to what is prohibited, and what is not.
19   Indeed, as a result, Plaintiffs have refrained from the above-mentioned protected
20   speech for reasonable fear of discipline. (Plaintiffs' SUF,1 9-17.) And again, as
21   explained in sections Al and A2 above, restraining this speech cannot be justified
22   under Pickering.
23         B. POLICY 1058 VIOLATES THE EQUAL PROTECTION CLAUSE
24            BECAUSE ITS EXCLUSION OF NON-GPOA MEMBERS IS NOT
25            NARROWLY TAILORED TO FURTHER A COMPELLING
26            GOVERNMENT INTEREST
27        "Equal protection claims are considered under a two-step analysis. First, (the
28 plaintiff) must show that the statute in question 'results in members of a certain
                                              20

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 1   group being treated differently from other persons based on membership in that
 2   group'... In the second step, a court assesses the legitimacy of a discriminatory
 3   statute under the appropriate level of scrutiny." Sagana v. Tenorio, 384 F.3d 731,
 4   740 (9th Cir. 2004).
 5           Policy 1058 treats members of the GPOA, Plaintiffs here, differently from
 6   other persons because the policy does not apply to persons not within Plaintiffs'
 7   employment group. The restrictions on First Amendment rights contained in Policy
 8   1058 do not apply to City employees other than the police officers which comprise
 9   the GPOA. (Policy § 1058.1.)
10          As for the appropriate level of scrutiny, "(t)he Equal Protection Clause
11   requires that statutes affecting First Amendment interests be narrowly tailored to
12   their legitimate objectives." Police Dept. of City of Chicago v. Mosley, 408 U.S. 92
13   (1972). By its express terms, Policy 1058 affects Plaintiffs' First Amendment
14   interests; "This policy applies to all forms of communication..." (Policy §
15   1058.1.1.) And, as shown above, it applies to speech which cannot be restrained
16   under Pickering. Because this "strict scrutiny" applies, "Defendants bear the
17   burden to demonstrate that the Policy is narrowly tailored to serve a compelling
18   government interest." (Exhibit F, p. 20; citing to Smith v. University of
19   Washington, 392 F.3d 367, 372 (9th Cir. 2004).)
20           Defendants have not, and cannot, meet this burden. Plaintiffs are unaware of
21   any other public employee union in the City that is prevented from exposing
22   corruption within their department, or from endorsing or opposing candidates for
23   elective office, or from speaking to the public about clear matters of public concern
24   of which they would have particular expertise, or of speaking on any matters while
25   identifying oneself as employed by the City. 1° Plaintiffs are also unaware of any
26
27 10 Policy 1058 was drafted and provided to Defendants by Lexipol, a private
   company, which "provides customizable, state-specific, web-based Law
28 Enforcement Policy Manuals with an integ rated training component to help police,

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 1   sufficient justification put forth by Defendants that explains why members of the
 2   GPOA are prevented from these same activities based solely on their inclusion
 3   within the GPOA, while the City's other public employee unions are not. The mere
 4   assertion that a need exists to "develop best practices for the most efficient
 5   performance and operation" of the Department can apply equally well to any other
 6   Department within the City, yet the restrictions on speech imposed upon Plaintiffs
 7   only apply so long as they're members of the GPOA. (Exhibit B, p. 5, 6, 7, 9, 11.)
 8   These general statements cannot meet strict scrutiny.
 9          Furthermore, even if rational basis scrutiny were to apply, Defendants
10   cannot, by law, claim they have even a "legitimate interest in covering up
11   mismanagement or corruption," to which much of Policy 1058 restrains as
12   discussed above. Johnson, 48 F.3d at 427 (9th Cir. 1995)."
13          C. POLICY 1058 VIOLATES PLAINTIFFS' RIGHT TO DUE
14            PROCESS BECAUSE THE PROVISIONS ARE
15            UNCONSTITUTIONALLY VAGUE
16
17         As this Court stated in its Order Denying Defendants' Motion to Dismiss:
18                     "The Supreme Court has made clear that a statute
                 or policy can be so vague as to violate the Due Process
19               Clause in two independent ways. See Hill v. Colorado,
20               530 U.S. 703, 732(2000). First, a statute or policy can be
                 impermissibly vague "if it fails to provide people of
21               ordinary intelligence a reasonable opportunity to
22               understand what conduct it prohibits." Id. Second, a
23   sheriff, probation, state and federal agencies operate more efficiently and
24   effectively." (From Lexipol's official web-page,
25   http://www.lexipol.com/disciplines/enforcement-sv-I.html; also see Exhibit C, p.
     7.)
26
27      Rational basis review requires "a rational relationship between the disparity in
     treatment and some legitimate governmental purpose." Kahawaiolaa v. Norton,
28   386 F.3d 1271, 1279 (9th Cir. 2004), empasis added.

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 1                statute or policy can be impermissibly vague "if it
                  authorizes or even encourages arbitrary and
                  discriminatory enforcement." Id.... Plaintiffs have clearly
                  pleaded that the Policy impinges on a liberty interest
 4                protected by the Due Process Clause: their freedom of
                  speech. See Procunier v. Martinez, 416 U.S. 396, 418
 5                (1974), overruled on other grounds by Thornburgh v.
 6                Abbott, 490 U.S. 401 (1989) (explaining that an interest
 7
                  "grounded . . . in the First Amendment[] is plainly a
                  `liberty' interest within the meaning of the Fourteenth
 8                Amendment")." (Exhibit F, p. 21.)
 9
10        In section A5 above, Plaintiffs have demonstrated that Policies 1058.3,
11 1058.4(b) and (f), and 1058.1.1(a) and (b) are unconstitutionally vague. As such,
12 These policies have also violated Plaintiffs' right to Due Process as guaranteed
13 under the Fourteenth Amendment, and for this Court's sake will not repeat the
14 argument here.
15    V. CONCLUSION
16        For all of the reasons discussed above, Plaintiffs request that this Court grant
17 Plaintiffs' motion for summary judgment either in full or in part at it sees proper.
18
19    Dated: May 14, 2012                   LACKIE, DAMMEIER & MCGILL APC
20
21                                                 S/Russell M. Perry
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         PLAINTIFFS' MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
                         MOTION FOR SUMMARY JUDGMENT
